                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                 5:13CR31-RLV

UNITED STATES OF AMERICA,           )
                                    )
            vs.                     )                  Sequestration Order
                                    )                        Rule 615
RICHARD BRYANT CLARK,               )                  Federal Rules of Evidence
                  Defendant.        )
___________________________________ )


       IT IS, HEREBY, ORDERED that any person who will be or may become a witness in

this case (except those excluded by FED. R. EVID. 615(a) – (d)) is prohibited from being in the

courtroom or within hearing of it during the trial of this matter except at the time of his or her

own testimony. All witnesses in this case are ordered also not to talk about prior testimony with

any witness or other person who has been in the courtroom during testimony. All witnesses are

further ordered not to talk with anyone who will be or may become a witness about any subject

related to this trial. The attorneys in this case are ordered to relay the contents of this order to

their own witnesses and are further ordered to scan the courtroom periodically to facilitate

removal of such witnesses if any of them have inadvertently come into the courtroom. The

lawyers are further ordered not to divulge the content of testimony already given in this case to

any prospective witness.



                                                Signed: November 14, 2013




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